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                                                                   19 Cr. 366 (LGS)

                                                                                                                             GOVERNMENT
     DX              DOCUMENT ID RANGE                                          DESCRIPTION
                                                                                                                              OBJECTIONS
                                                     DX-10 Series – Credit Committee Materials
DX-10           TFSB0054094--TFSB0054129              Credit Committee Materials, August 16, 2016                          402, 403, 802
DX-11           TFSB0054130--TFSB0054161              Credit Committee Materials, November 14, 2016                        402, 403, 802
DX-12           TFSB0054162--TFSB0054193              Credit Committee Materials, December 13, 2016                        402, 403, 802
DX-13           TFSB0054194--TFSB0054232              Credit Committee Materials, September 14, 2016                       402, 403, 802
DX-14           TFSB0054272--TFSB0054310              Credit Committee Materials, October 18, 2016                         402, 403, 802
DX-15           TFSB0054311--TFSB0054347              Credit Committee Materials, July 14, 2016                            402, 403, 802
DX-16           TFSB0054348--TFSB0054383              Credit Committee Materials, April 20, 2017                           402, 403, 802
DX-17           TFSB0054384--TFSB0054418              Credit Committee Materials, February 28, 2017                        402, 403, 802
DX-18           TFSB0054419--TFSB0054446              Credit Committee Materials, January 19, 2017                         402, 403, 802
                                                          DX-50 Series – Miscellaneous
DX-50           NA                                     Composite Video Exhibit 1                                           Likely 402, 403, 802
                                          DX-100 Series – The Federal Savings Bank Documents
DX-100          CALK00000026--CALK00000096      Emails Calk, Various, August 9, 2016                                       Calk’s email
                                                                                                                           admissible; employee
                                                                                                                           responses 402, 403, 802
DX-101          CALK00000097--CALK00000098            Email from Calk to colbbb@gmail.com, August 9, 2016                  Calk’s email
                                                                                                                           admissible; fact of
                                                                                                                           sending to Banks 402,
                                                                                                                           leaving remainder
                                                                                                                           cumulative with DX-
                                                                                                                           100
DX-102          SDNY_00238883--SDNY_00238885          Email from Jones to Calk, Calk, Chojnowski, Bressler, Smith,         402, 403, 802
                                                      Husarsky, Miller, Crossett, Wells, Semenak, April 14, 2016
DX-103          SDNY_00238940--SDNY_00238941          Email from Jones to Calk, Calk, Chojnowski, Miller, Husarsky,        402, 403, 802
                                                      Crossett, Wells, Smith, May 13, 2016

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    A video exhibit will be provided at a later date and will be composed of various clips from CALK00000001 through CALK00000025.

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   DX               DOCUMENT ID RANGE                                   DESCRIPTION
                                                                                                                       OBJECTIONS
DX-104          SDNY_00238958--SDNY_00238959   Email Chain Raico, Calk, Ubarri, Brennan, Norini, July 28, 2016     (Limiting instruction:
                                                                                                                   not for truth of matter
                                                                                                                   asserted)
DX-105          SDNY_00239046--SDNY_00239047   Email from Jones to Calk, Calk, Chojnowski, Husarsky, Smith,        (Limiting instruction:
                                               Wells, Semenak, Crossett, Miller, August 11, 2016                   not for truth of matter
                                                                                                                   asserted)
DX-106          SDNY_00239176--SDNY_00239177   Email Chain Brennan Raico, Ubarri, Norini, Horn, Calk, October 7,
                                               2016
DX-107          SDNY_00240140--SDNY_00240141   Email Chain Brennan, Calk, Ubarri, Raico, November 14, 2016
DX-108          SDNY_00240145--SDNY_00240148   Email Chain Brennan, Raico, Calk, Ubarri, November 14, 2016
DX-109          SDNY_00240160--SDNY_00240163   Email Chain Brennan, Calk, Ubarri, Raico, Norini, November 14,
                                               2016
DX-110          SDNY_00240167--SDNY_00240169   Email Chain Manafort, Raico, Baldinger, Calk, November 14, 2016
DX-111          SDNY_00240210--SDNY_00240221   Email Chain Manafort, Raico, Baldinger, Yohai, Calk, attachments,   402, 403
DX-111-A                                       November 30, 2016
DX-111-B
DX-111-C
DX-111-D
DX-111-E
DX-111-F
DX-111-G
DX-111-H
DX-112          SDNY_00240332                  Email from Smith to Calk, December 8, 2016                          403
DX-113          SDNY_00241258--SDNY_00241259   Email Chain Cholakis, Raico, December 21, 2016                      402, 403
DX-114          SDNY_00242500                  Email from Ubarri to Norini, Brennan, Horn, Lorr, December 20,      403
                                               2016
DX-115          SDNY_00242748--SDNY_00242752   Email Chain Raico, Horn, Brennan, attachment, December 28, 2016     402, 403
DX-115-A
DX-116          SDNY_00242762--SDNY_00242765   Email Chain Raico, Horn, Brennan, December 28, 2016                 402, 403
DX-117          SDNY_00242818--SDNY_00242819   Email Chain Raico, Horn, Brennan, December 30, 2016                 402, 403
DX-118          SDNY_00242888--SDNY_00242890   Email Chain Raico, Horn, Brennan, January 6, 2017                   402, 403
DX-119          SDNY_00243842--SDNY_00243847   Email Chain Horn, Raico, January 24, 2017                           402, 403
DX-120          SDNY_00244569                  Email from Nadlan Valuation Inc, October 13, 2016


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                                                                                                                      GOVERNMENT
   DX               DOCUMENT ID RANGE                                   DESCRIPTION
                                                                                                                       OBJECTIONS
DX-121          SDNY_00245785--SDNY_00245973   Email Chain Ivakhnik, Horn, Raico, attachments, August 11, 2016     802 (403 with respect
DX-121-A                                                                                                           to non-hearsay
DX-121-B                                                                                                           purposes)
DX-121-C
DX-121-D
DX-121-E
DX-121-F
DX-122          SDNY_00246258--SDNY_00246278   Email Chain Ivakhnik, Horn, Raico, attachments, August 16, 2016
DX-122-A
DX-122-B
DX-123          SDNY_00247924                  Email from Nadlan Valuation Inc., November 9, 2016
DX-124          SDNY_00247925                  Email from Nadlan Valuation Inc., November 10, 2016
DX-125          SDNY_00248004--SDNY_00248046   Email Chain Brennan, Jacobsen, Wisnicki, Horn, Shelton, Ivakhnik,
DX-125-A                                       Raico, attachments, August 26, 2016
DX-125-B
DX-125-C
DX-125-D
DX-125-E
DX-126          SDNY_00248050                  Email from Nadlan Valuation Inc., August 26, 2016                   402, 403
DX-127          SDNY_00248842                  Email from Brennan to Shelton, Ivakhnik, Horn, Zidell, Wisnicki,
                                               September 23, 2016
DX-128          SDNY_00248852                  Email from Nadlan Valuation Inc., September 26, 2016                402, 403
DX-129          SDNY_00249384--SDNY_00249385   Email Chain Ivakhnik, Cholakis, August 25, 2016                     402, 403
DX-130          SDNY_00249552--SDNY_00249554   Email Chain Ivakhnik, Yohai, Raico, Katz, August 30, 2016           402, 403, 802
DX-131          SDNY_00249563                  Email Chain Ivakhnik, Raico, August 30, 2016
DX-132          SDNY_00250342                  Email Chain Ivakhnik, Horn, Raico, September 26, 2016               402, 403
DX-133          SDNY_00250824--SDNY_00250825   Email from Raico to Jones, April 15, 2016
DX-134          SDNY_00250888--SDNY_00250889   Email from Jones to Calk, Calk, Chojnowski, Husarsky, Crossett,     402, 403
                                               Miller, Smith, Wells, April 29, 2016
DX-135          SDNY_00251152--SDNY_00251154   Email Chain Raico, Jones, August 9, 2016                            802 with respect to
                                                                                                                   praise of Manafort
                                                                                                                   loans



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                                                                                                                       GOVERNMENT
   DX               DOCUMENT ID RANGE                                   DESCRIPTION
                                                                                                                         OBJECTIONS
DX-136          SDNY_00251213--SDNY_00251215   Email Chain Jones, Calk, October 7, 2016                              402, 403 (and 802 as to
                                                                                                                     Calk’s statements)
DX-137          SDNY_00251238--SDNY_00251240   Email Chain Jones, Calk, November 30, 2016                            402, 403 (and 802 as to
                                                                                                                     Calk’s statements)
DX-138          SDNY_00252005--SDNY_00252007   Email from Bartholomew to Raico, Jones, attachment, October 27,       802
DX-138-A                                       2016
DX-139          SDNY_00252011--SDNY_00252012   Email Chain Raico, Bartholomew, Jones, October 27, 2016               802
DX-140          SDNY_00252013--SDNY_00252015   Email Chain Bartholomew, Raico, Jones, October 27, 2016               802
DX-141          SDNY_00252018--SDNY_00252063   Email Chain Raico, Bartholomew, Jones, attachment, October 28,
DX-141-A                                       2016
DX-142          SDNY_00252289--SDNY_00252295   Email Chain Raico, Bartholomew, DiCola, Jones, November 16,
                                               2016
DX-143          SDNY_00252885--SDNY_00252888   Email Chain Jones, Bartholomew, Raico, November 8, 2016
DX-144          SDNY_00252896--SDNY_00252900   Email Chain Jones, Raico, November 22, 2016                           402, 403
DX-146          SDNY_00254032--SDNY_00254033   Email from Raico to Calk, Ubarri, Brennan, Norini, attachment, July
DX-146-A                                       28, 2016
DX-147          SDNY_00254117                  Email from Manafort to Raico, July 29, 2016
DX-148          SDNY_00254122--SDNY_00254125   Email Chain Raico, Manafort, attachment, July 29, 2016
DX-148-A
DX-149          SDNY_00254305--SDNY_00254524   Email from Ivakhnik to Raico, attachment, August 4, 2016
DX-149-A
DX-150          SDNY_00254559                  Email from Raico to Jones, August 8, 2016                             402, 403, 802
DX-151          SDNY_00254725--SDNY_00254728   Email Chain Ubarri, Raico, Brennan, Horn, August 10, 2016
DX-152          SDNY_00255166                  Email from Raico to Jones, August 11, 2016
DX-153          SDNY_00255931--SDNY_00255936   Email Chain Raico, Brennan, Horn, attachments, August 18, 2016        402, 403
DX-153-A
DX-153-B
DX-154          SDNY_00256143                  Email from Raico to Calk, November 3, 2016
DX-155          SDNY_00256218--SDNY_00256220   Email from Raico to Manafort, Baldinger, Calk, attachment,
DX-155-A                                       November 11, 2016
DX-156          SDNY_00257836--SDNY_00257838   Email Chain Brennan, Raico, September 8, 2016
DX-157          SDNY_00258402--SDNY_00258437   Email Chain Katz, Raico, attachment, September 18, 2016
DX-157-A


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     DX              DOCUMENT ID RANGE                                               DESCRIPTION
                                                                                                                                 OBJECTIONS
DX-157-B
DX-158          SDNY_00258499--SDNY_00258543              Email Chain Heskel, Raico, attachment, September 21, 2016
DX-158-A
DX-159          SDNY_00259317                             Email from Raico to Brennan, Horn, Ubarri, October 5, 2016
DX-160          SDNY_00259326                             Email from Nadlan Valuation Inc., October 6, 2016
DX-161          SDNY_00262428--SDNY_00262430              Email from Raico to Cholakis, attachments, October 21, 2016
DX-161-A
DX-161-B
DX-162          SDNY_00262766--SDNY_00262777              Email Chain Horn, Raico, Brennan, attachments, October 26, 2016
DX-162-A
DX-162-B
DX-163          SDNY_00262834--SDNY_00262835              Email Chain Katz, Raico, Yohai, October 27, 2016                    402, 403
DX-164          SDNY_00263496--SDNY_00263498              Email Chain Katz, Raico, attachments, October 27, 2016
DX-164-A
DX-164-B
DX-165          SDNY_00265374--SDNY_00265375              Email Chain Cholakis, Raico, November 1, 2016                       402, 403
DX-166          SDNY_00265393--SDNY_00265394              Email Chain Sparks, Raico, November 2, 2016
DX-167          SDNY_00265801--SDNY_00265843              Email from Nadlan Valuation Inc., attachments, November 4, 2016 2
DX-167-A
DX-167-B
DX-167-C
DX-167-D
DX-168          SDNY_00266450--SDNY_00266451              Email Chain Marquez, Raico, DiCola, November 7, 2016                403 (cumulative with
                                                                                                                              DX-143)
DX-169          SDNY_00266544--SDNY_00266547              Email Chain DiCola, Raico, Marquez, November 8, 2016
DX-170          SDNY_00266681--SDNY_00266685              Email Chain Weinberg, Raico, Heskel, November 10, 2016              402, 403
DX-171          SDNY_00266724--SDNY_00266751              Email Chain Raico, Cholakis, attachments, November 11, 2016         402, 403
DX-171-A
DX-171-B
DX-171-C
DX-172          SDNY_00266791                             Email from Baldinger to Raico, November 12, 2016


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    One of the attachments to this exhibit is corrupted in the original. Accordingly, we have marked the slipsheet.

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   DX               DOCUMENT ID RANGE                                  DESCRIPTION
                                                                                                                     OBJECTIONS
DX-173          SDNY_00266919--SDNY_00266927   Email Chain Sparks, Bartholomew, Raico, attachment, November 15,
DX-173-A                                       2016
DX-174          SDNY_00267069--SDNY_00267071   Email Chain Horn, Raico, Shelton, Brennan, attachment, November    402, 403
DX-174-A                                       15, 2016
DX-175          SDNY_00267494--SDNY_00267500   Email Chain Brennan, Raico, Shelton, November 16, 2016             402, 403, 802 (as to
                                                                                                                  portions re Ivakhnik
                                                                                                                  termination)
DX-176          SDNY_00267509--SDNY_00267510   Email Chain Weinberg, Raico, Heskel, November 16, 2016             402, 403
DX-177          SDNY_00267589--SDNY_00267593   Email Chain Weinberg, Raico, Cholakis, Heskel, November 16, 2016   402, 403
DX-178          SDNY_00267753--SDNY_00267774   Email Chain Cholakis, Raico, attachments, November 18, 2016        402, 403
DX-178-A
DX-178-B
DX-179          SDNY_00268358--SDNY_00268369   Email from Horn to Brennan, Raico, attachment, November 30, 2016
DX-179-A
DX-180          SDNY_00268607--SDNY_00268613   Email Chain DiCola, Raico, Judis, December 6, 2016
DX-181          SDNY_00268662--SDNY_00268663   Email from Raico to Brennan, attachment, December 7, 2016
DX-181-A
DX-182          SDNY_00268920--SDNY_00268926   Email Chain Cholakis, Raico, December 12, 2016                     402, 403
DX-183          SDNY_00268938--SDNY_00268946   Email Chain Sparks, Raico, Bartholomew, attachment, December 13,
DX-183-A                                       2016
DX-184          SDNY_00268957--SDNY_00268965   Email Chain DiCola, Smith, Raico, attachment, December 13, 2016
DX-184-A
DX-185          SDNY_00269131--SDNY_00269134   Email Chain DiCola, Raico, attachments, December 16, 2016
DX-185-A
DX-185-B
DX-186          SDNY_00269214--SDNY_00269271   Email from Cholakis to Raico, attachments, December 21, 2016
DX-186-A
DX-186-B
DX-187          SDNY_00269744--SDNY_00269745   Email Chain Brennan, Wisnicki, Raico, January 5, 2017
DX-188          SDNY_00270025--SDNY_00270028   Email Chain Horn, Raico, January 19, 2017                          402, 403, 802 (parts)
DX-189          SDNY_00270603--SDNY_00270605   Email Chain Raico, Brennan, Horn, Ivakhnik, attachments, August    402, 403
DX-189-A                                       30, 2016
DX-189-B



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                                                                                                                    GOVERNMENT
   DX               DOCUMENT ID RANGE                                  DESCRIPTION
                                                                                                                     OBJECTIONS
DX-190          SDNY_00270677--SDNY_00270684   Email Chain Raico, Brennan, Horn, Ivakhnik, attachments, August    402, 403
DX-190-A                                       30, 2016
DX-190-B
DX-191          SDNY_00270823--SDNY_00270829   Email Chain Raico, Yohai, attachments, September 7, 2016
DX-191-A
DX-191-B
DX-192          SDNY_00270937--SDNY_00271015   Email Chain Raico, Brennan, attachments, September 21, 2016
DX-192-A
DX-192-B
DX-193          SDNY_00271242--SDNY_00271243   Email Chain Raico, Brennan, Horn, attachment, October 5, 2016
DX-193-A
DX-194          SDNY_00271280--SDNY_00271285   Email Chain Raico, Wisnicki, October 7, 2016                       403, 802
DX-195          SDNY_00271444--SDNY_00271452   Email Chain Raico, Knoph, Mullin, attachments, October 12, 2016    402, 403
DX-195-A
DX-195-B
DX-195-C
DX-196          SDNY_00271472--SDNY_00271473   Email Chain Raico, Nadlan Appraisals, Heskel, October 13, 2016     402, 403
DX-197          SDNY_00271484--SDNY_00271498   Email Chain Raico, Brennan, Horn, attachments, October 13, 2016
DX-197-A
DX-197-B
DX-198          SDNY_00271639--SDNY_00271640   Email Chain Raico, Wisnicki, October 21, 2016                      802
DX-199          SDNY_00271681--SDNY_00271685   Email Chain Raico, Cholakis, October 21, 2016
DX-200          SDNY_00273286--SDNY_00273290   Email Chain Raico, Ubarri, Brennan, Buteyn, MacDonald,             802
DX-200-A                                       attachment, November 10, 2016
DX-201          SDNY_00273374--SDNY_00273375   Email Chain Raico, Brennan, Horn, November 14, 2016                402, 403
DX-202          SDNY_00273399--SDNY_00273406   Email Chain Raico, DiCola, Bartholomew, attachment, November 16,   403 (cumulative with
DX-202-A                                       2016                                                               DX-142)
DX-203          SDNY_00273414--SDNY_00273416   Email Chain Raico, Cholakis, November 16, 2016
DX-204          SDNY_00273483--SDNY_00273485   Email Chain Raico, Sparks, Bartholomew, November 16, 2016
DX-205          SDNY_00273648--SDNY_00273653   Email Chain Raico, DiCola, Bartholomew, attachment, November 21,   402, 403, 802 (as to
DX-205-A                                       2016                                                               assertions in
                                                                                                                  attachment)




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   DX               DOCUMENT ID RANGE                                   DESCRIPTION
                                                                                                                         OBJECTIONS
DX-206          SDNY_00273832--SDNY_00273834   Email Chain Raico, DiCola, December 2, 2016                            402, 403, 802 (as to
                                                                                                                      Raico’s statements re
                                                                                                                      Shabanets)
DX-207          SDNY_00274346--SDNY_00274347   Email Chain Raico, Wisnicki, Brennan, October 27, 2016
DX-208          SDNY_00274670--SDNY_00274702   Email from Raico to Brennan, Ubarri, Calk, Jones, attachments, April
DX-208-A                                       21, 2016
DX-208-B
DX-208-C
DX-208-D
DX-209          SDNY_00277412--SDNY_00277427   Email Chain Langchung, Ubarri, Brennan, Sanchez, attachments,          402, 403
DX-209-A                                       November 29, 2016
DX-209-B
DX-209-C
DX-210          SDNY_00277761--SDNY_00277762   Email Chain Raico, Ubarri, April 20, 2016
DX-211          SDNY_00278349--SDNY_00278350   Email Chain Smith, Judis, Davidtz, DiCola, Ubarri, December 12,        802
                                               2016
DX-212          SDNY_00280267--SDNY_00280268   Email from Cisco Unity Connection to Ubarri, attachment, November      802
DX-212-A                                       10, 2016
DX-213          SDNY_00283950--SDNY_00283977   Email Chain Horn, Murphy, Brennan, Shelton, attachments, October       402, 403, 802 (as to
DX-213-A                                       10, 2016                                                               assertions in
DX-213-B                                                                                                              attachment)
DX-213-C
DX-213-D
DX-213-E
DX-213-F
DX-213-G
DX-213-H
DX-213-I
DX-214          TFSB0000298--TFSB0000302       Email from Ubarri to Calk, Calk, Norini, Semenak, Murphy, Gilmore,     403, 802
DX-214-A                                       rigbyrl@gmail.com, Harris, Banks, attachment, April 3, 2017
DX-216          TFSB0032051--TFSB0032067       Email from Brennan to Aguirre, attachment, July 5, 2017                403, 802 (as to
DX-216-A                                                                                                              assertions in
                                                                                                                      attachment)
DX-217          TFSB0035196--TFSB0035233       Email Chain Brennan, Semenak, attachments, June 9, 2017
DX-217-A


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   DX               DOCUMENT ID RANGE                                 DESCRIPTION
                                                                                                                   OBJECTIONS
DX-217-B
DX-217-C
DX-221          TFSB0085889--TFSB0085895      Uniform Residential Loan Application                              802
DX-222          TFSB0086160--TFSB0086162      Email Chain Calk, Dailey, December 2, 2016                        403 (cumulative with
                                                                                                                DX-228), 802 as to
                                                                                                                Calk’s statements
DX-223          TFSB0086166--TFSB0086169      Email Chain Calk, Smith, December 8, 2016                         403, 802
DX-224          TFSB0086170--TFSB0086172      Email Chain Calk, Dailey, attachments, December 11, 2016          DX-224: 402, 403, 802;
DX-224-A                                                                                                        DX-224-A: 403, 802
DX-224-B
DX-225          TFSB0086768--TFSB0086769      Email Chain Smith, Calk, November 26, 2016                        403, 802
DX-226          TFSB0086780--TFSB0086788      Email Chain Calk, Gallagher, attachments, November 27, 2016       403, 802
DX-226-A
DX-226-B
DX-227          TFSB0086818--TFSB0086820      Email Chain Gilmore, Calk, November 27, 2016                      403, 802
DX-228          TFSB0086861--TFSB0086863      Email Chain Dailey, Mattis, Calk, Donnelly, December 2, 2016
DX-229          TFSB0086880                   Email Chain Dailey, Calk, December 11, 2016                       403, 802
DX-230          TFSB0087335--TFSB0087336      Email Chain Calk, Smith, November 26, 2016                        403, 802
DX-231          TFSB0087337--TFSB0087338      Email Chain Calk, McCarthy, November 26, 2016                     403, 802
DX-232          TFSB0087458--TFSB0087463      Email from Calk to steve@arc-ent.com, attachments, December 19,   403
DX-232-A                                      2016
DX-232-B
DX-233          TFSB0087477--TFSB0087487      Email from Calk to Bannon, attachments, December 27, 2016         403, 802
DX-233-A
DX-233-B
DX-233-C
DX-233-D
DX-233-E
DX-233-F
DX-234          TFSB0087488--TFSB0087489      Email Chain Calk, silvermang@gtlaw.com, January 9, 2017           403, 802
DX-235          TFSB0087596                   Email Chain Calk, Dailey, February 5, 2017                        403, 802
DX-236          TFSB0087765--TFSB0087768      Email Chain Calk, Banks, February 6, 2017                         403, 802
DX-237          TFSB0089077--TFSB0089078      Email Chain Calk, Donnelly, December 8, 2016                      403, 802


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   DX               DOCUMENT ID RANGE                                    DESCRIPTION
                                                                                                                       OBJECTIONS
DX-238          TFSB0089218--TFSB0089219       Email Chain Calk, colbbb@gmail.com, February 4, 2017                 403, 802
DX-239          TFSB0090564--TFSB0090566       Email from Banks to Calk, attachment, November 15, 2016              402, 403
DX-239-A
DX-240          TFSB0090568--TFSB0090571       Email from Banks to Calk, attachment, November 15, 2016              402, 403
DX-240-A
DX-241          TFSB0090925--TFSB0090931       Email from Calk to Rigby, attachments, November 27, 2016             402, 403
DX-241-A
DX-241-B
DX-241-C
DX-242          SDNY_00241519--SDNY_00241521   Email Chain Banks, Calk, attachment, January 9, 2017                 402, 403 as to forward
DX-242-A                                                                                                            to Banks, no objection
                                                                                                                    to forwarded email
DX-243          SDNY_00278338--SDNY_00278341   Email Chain Brennan, Ubarri, Norini, Horn, attachment, December 9,   402, 403, 802 as to all
DX-243-A                                       2016                                                                 statements
DX-244          SDNY_00279375--SDNY_00279377   Email Chain Ubarri, Brennan, December 9, 2016                        402, 403
DX-245          TFSB0087464--TFSB0087465       Email Chain Calk, Scaramucci, December 22, 2016                      402, 403, 802
DX-246          TFSB0087672--TFSB0087679       Email from Calk to Scaramucci, attachments, December 27, 2016
DX-246-A
DX-246-B
DX-246-C
DX-247          TFSB0087684--TFSB0087685       Email Chain Calk, Scaramucci, December 29, 2016
DX-248          TFSB0087740                    Email from Banks to Calk, February 5, 2017
DX-249          TFSB0089143--TFSB0089146       Email Chain Calk, Scaramucci, attachments, December 28, 2016
DX-249-A
DX-249-B




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